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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  JEREE WEBSTER,                               Civil Action No.

                Plaintiff,                     21-06449 (SDW) (JRA)

  v.
                                                   AMENDED SCHEDULING
                                                         ORDER
  UNITED STATES OF AMERICA,
  et al.,

                Defendants.


       THIS MATTER having come before the Court by way of a status conference

on June 21, 2022, and for good cause shown,

       IT IS, on this 21st day of June 2022, ORDERED that the Pretrial

Scheduling Order entered September 15, 2021 (ECF No. 19), as subsequently

amended, is hereby further amended as follows:

   1. The parties shall complete all outstanding depositions relating to fact

       discovery by August 15, 2022. Discovery disputes (other than those arising

       during depositions) shall be brought to the Court’s attention no later than

       August 1, 2022.        The Court will not consider any discovery dispute (other

       than those arising during depositions) brought to its attention after this date.

   2. All affirmative expert reports shall be delivered by September 1, 2022. Any

       such report shall comport with the form and content requirements of Fed. R.

       Civ. P. 26(a)(2)(B).
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   3. All responding expert reports shall be delivered by October 3, 2022. Any such

      report shall comport with the form and content requirements referenced above.

   4. Expert discovery, including the depositions of any expert witnesses, shall be

      completed on or before November 2, 2022.

   5. The parties shall appear for a telephonic status conference before the

      undersigned on August 25, 2022, at 3:30 p.m. Prior to the conference, but no

      later than August 18, 2022, the parties shall file a joint letter not to exceed five

      (5) pages summarizing the relevant facts, the respective legal positions, the

      status of the case, and any other issues that need to be addressed by the Court.

      The dial-in information for the conference is (888) 684-8852, access code

      1364268#.

   6. The settlement conference scheduled for July 28, 2022, at 10:00 a.m. is

      adjourned.




                                 JOSÉ R. ALMONTE
                                 UNITED STATES MAGISTRATE JUDGE




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